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                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4          Nina Agdal                        ,           Case No. 24-mc-80266-JCS
                                                        Plaintiff(s),
                                   5
                                                                                            APPLICATION FOR ADMISSION OF
                                                  v.                                        ATTORNEY PRO HAC VICE
                                   6
                                                                                            (CIVIL LOCAL RULE 11-3)
                                   7          X Corporation                     ,
                                                        Defendant(s).
                                   8

                                   9

                                  10          I, Jeffrey A. Neiman            , an active member in good standing of the bar of

                                  11    Florida                               , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: Nina Agdal                        in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Patrick Delahunty                , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15   within the State of California. Local co-counsel’s bar number is: _________________.
                                                                                                         257439

                                  16
                                       100 SE 3rd Ave., St 805 Ft. Lauderdale, FL           4 Embarcadero Ctr. #1400, San Francisco, CA
                                  17   33394
                                       MY ADDRESS OF RECORD                                 94111
                                                                                             LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   305-541-8281                                         (415) 891-6210
                                        MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       jneiman@mnrlawfirm.com                               pdelahunty@delawllp.com
                                  20    MY EMAIL ADDRESS OF RECORD                           LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22          I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 544469              .
                                  24          A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                  0
                                              I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
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                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: 11/06/2024                                                       Jeffrey A. Neiman
                                                                                                               APPLICANT
                                   5

                                   6

                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of Jeffrey A. Neiman                                     is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                       Dated: November 8, 2024                                                ISTRIC
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                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE                  R NIA
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                                       Updated 11/2021                                   2
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                                    The Florida Bar
                                           651 East Jefferson Street
                                          Tallahassee, FL 32399-2300
    Joshua E. Doyle                                                                   850/561-5600
   Executive Director                                                             www.FLORIDABAR.org

 State of Florida       )
 County of Leon         )                       In Re: 0544469
                                                       Jeffrey Adam Neiman
                                                       Marcus Neiman Rashbaum & Pineiro, LLP
                                                       100 SE 3rd Ave Ste 805
                                                       Fort Lauderdale, FL 33394-0002
I CERTIFY THE FOLLOWING:

I am the custodian of membership records of The Florida Bar.

Membership records of The Florida Bar indicate that The Florida Bar member listed above was admitted to
practice law in the state of Florida on April 17, 2002.

The Florida Bar member above is an active member in good standing of The Florida Bar who is eligible to
practice law in the state of Florida.

Dated this 26th day of September, 2024.




Cynthia B. Jackson, CFO
Administration Division
The Florida Bar

PG:R10
CTM-307855
